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                   IN THE UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                             WESTERN DIVISION

UNITED STATES

VERSUS                            CRIMINAL ACTION NO: 5:07-cr-17-DCB-FKB

CHARLES EDWARD PRICE                                                     PETITIONER

                                       ORDER

     This cause comes before the Court on the petitioner’s Motions

to Return Property [docket entry nos. 284, 303].               Having carefully

considered the Motions, Responses thereto, applicable statutory and

case law, and being otherwise fully advised in the premises, the

Court finds and orders as follows:

     Charles      Edward     Price     (“petitioner”)       was       convicted       of

conspiracy to possess with the intent to distribute cocain base on

January 2, 2008, pursuant to a plea agreement with the government.

As a condition of his guilty plea, the petitioner agreed to forfeit

his interests in $10,300.00 U.S. currency that was seized at his

residence at the time of his arrest pursuant to a valid search

warrant.      In his plea agreement, the petitioner admitted that said

property was his and that he used, or intended the property to be

used,    to   commit   or    facilitate     the     commission    of     (Count       2)

conspiracy to possess with the intent to distribute cocain base.

     On July 27, 2007, this Court granted the government’s Motion

for Criminal Forfeiture of Property [docket entry no. 108] pursuant

to 21 U.S.C. § 853.         The Court’s Final Judgment [docket entry no.

220] also incorporated the Agreed Preliminary Order of Forfeiture
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as agreed to in the plea agreement. Although the preliminary order

does not appear on the electronic docket, it is clear from the

transcript that this document was executed by the petitioner at his

sentencing.       However,   the   petitioner    refused     to    execute      a

replacement Agreed Preliminary Order of Forfeiture and filed the

instant motion.    In the instant motion, the petitioner argues that

the property is not unlawful nor was it ever used, obtained or

profited by any illegal means.

     The forfeiture of property in a drug-related sentence is part

of the sentence, not part of the offense.          Libretti v. U.S., 516

U.S. 29, 41 (1995).     The Court’s Final Judgment incorporated the

Agreed Preliminary Order of Forfeiture, and the Court’s oral

pronouncement of forfeiture at sentencing is sufficient to make the

order binding.    U.S. v. McCormick, 2006 WL 1722197, *3 (E.D. Mich.

2006)(citing U.S. v. Cofield, 233 F.3d 405, 406-07 (6th Cir.

2000)).   Inasmuch as the petitioner fully understood the plea

agreement, forfeited his interest in the property as part of his

plea agreement, and the Agreed Order of Forfeiture was incorporated

into the Final Judgment, this Court finds that the petitioner’s

motion is without merit.

     Accordingly,

     IT IS HEREBY ORDERED that the petitioner’s Motions for Return

of Property [docket entry nos. 284, 303] are DENIED.

     SO ORDERED AND ADJUDGED this the 12th day of April 2010.

                                        s/ David Bramlette
                                   UNITED STATES DISTRICT JUDGE
